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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION

KEITH CARROLL,                         )
                                       )
     Plaintiff,                        )
                                       )                 Case No: 7:18CV90
v.                                     )
                                       )
                                       )
BOLLING WILSON HOTEL, LLC,             )
                                       )
Serve: Chief Executive/Manager         )
     In His/Her Official Capacity      )
     Bolling Wilson Hotel Headquarters )
     395 Chapman Road                  )
     Wytheville, VA 24382              )
                                       )
     Defendant.                        )

                                     COMPLAINT

       The above-named Plaintiff, Keith Carroll, by counsel, states as his Complaint

against Defendant Bolling Wilson Hotel, LLC (“Defendant”), the following:

                                   I. JURISDICTION

       1.     This Court has subject matter jurisdiction of this action pursuant to 28

U.S.C. § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the Americans

with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.

       2.     Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-

(3) because Defendant’s principal place of business is in this District, a substantial

part of the events or omissions giving rise to Plaintiff’s claim occurred in this District,

and Defendant is subject to personal jurisdiction in this District.
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                                   II. THE PARTIES

      3.      Plaintiff is an adult resident of Virginia. Plaintiff is permanently blind

and uses a screen reader in order to access the internet and read website content, and

thus qualifies as an individual with disability as defined by the ADA, 42 U.S.C. §

12102(2), 28 C.F.R. 36.104. Despite several attempts to use and navigate Defendant’s

website, www.bollingwilsonhotel.com, Plaintiff has been denied the full use and

enjoyment of the facilities, services, privileges, advantages, and accommodations of

bollingwilsonhotel.com as a result of accessibility barriers on bollingwilsonhotel.com.

The access barriers on bollingwilsonhotel.com have caused a denial of Plaintiff’s full

and   equal   access   multiple    times.       Similarly,   the   access   barriers   on

bollingwilsonhotel.com have deterred Plaintiff from using Defendant’s online

services, privileges, advantages, and accommodations and likewise visiting

Defendant’s Bolling Wilson Hotel location in Wytheville, Virginia.

      4.      Plaintiff is informed and believes, and thereon alleges, that Defendant is

a Virginia limited liability company with its principal place of business located in

Wytheville, Virginia. Plaintiff is informed and believes, and thereon alleges, that

Defendant owns and operates the Bolling Wilson Hotel in Virginia. The Bolling

Wilson Hotel location constitutes a place of public accommodation. Defendant’s

location provides to the public important goods and/or services, privileges,

advantages, and accommodations.         Defendant also provides to the public the


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bollingwilsonhotel.com       website.    Bollingwilsonhotel.com    provides access to

Defendant’s array of services, privileges, advantages, and accommodations,

including, but not limited to, a locator for Defendant’s location so that a potential

customer may determine from the website whether to visit the location, descriptions

of its types of amenities and services, other pages that enable users to determine

Defendant’s products and services, privileges, advantages, and accommodations, and

many other benefits related to Defendant’s facilities and services, privileges,

advantages, and accommodations. Defendant’s location is a public accommodation

within the definition of Title III of the Americans with Disabilities Act of 1990

(“ADA”), 42 U.S.C. § 12181(7). Based on the information, services, tools, and locator

related     to     Defendant’s     location   provided     on    Defendant’s    website,

bollingwilsonhotel.com is a service, privilege, advantage, and accommodation of

Defendant’s location.       Additionally, based thereon, bollingwilsonhotel.com is a

service, privilege, advantage, and accommodation that is heavily integrated with this

location.

       5.        At all times relevant to the Complaint, Defendant was acting through its

agents, servants and/or employees.


                               III. FACTUAL BACKGROUND

                     Applicability of the ADA to Commercial Websites

       6.        The internet has become a significant source of information, a portal

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and tool for conducting business, and a means for doing everyday activities such as

shopping, banking, etc. for both the sighted and blind, and/or visually-impaired

persons.

      7.     Blind individuals may access websites by using keyboards in

conjunction with screen-reading software that vocalizes visual information on a

computer screen. Screen access software provides the only method by which a blind

person may independently access the internet. Unless websites are designed to be

read by screen reading software, blind persons are unable to fully access websites and

the information, products and services, privileges, advantages, and accommodations

contained thereon.

      8.     The international website standards organization, W3C, has published

version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0

are well-established guidelines for ensuring websites are accessible to blind and

visually-impaired people. These guidelines are successfully followed by numerous

large business entities to ensure their websites are accessible.     These guidelines

recommend several basic components for making websites accessible including, but

not limited to:   adding invisible alternative text to graphics; ensuring that all

functions can be performed using a keyboard and not just a mouse; ensuring that

image maps are accessible; and adding headings so that blind people can easily

navigate websites. Without these very basic components, a website will be

inaccessible to a blind or visually-impaired person using a screen reader.

      9.     Within this context, numerous federal courts have recognized the
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viability of ADA claims against commercial website owners/operators with regard to

the accessibility of such websites.

    The Inaccessibility of Defendant’s Website to the Visually-Impaired

         10.   Defendant offers the commercial website, bollingwilsonhotel.com,

which provides, as set forth above, a breadth of information concerning the location it

operates, information and descriptions of its amenities and services, privileges,

advantages, and accommodations, and allows users to find the location for them to

visit.   Robles v. Yum! Brands, Inc., Case No 2:16-cv-08211-ODW(SS), 2018 WL

566781, at *8 (C.D. Cal. Jan. 24, 2018) (denying defendant’s motion for summary

judgment), Rios v. New York & Co., Inc., No. 2:17-cv-04676-ODW(AGRx), 2017 WL

5564530, at *7 (C.D. Cal. Nov. 16, 2017) (denying defendant’s motion for judgment

on the pleadings); Access Now, Inc. v. Blue Apron, LLC, No. 17-cv-116-JL, 2017 WL

5186354, at *11 (D.N.H. Nov. 8, 2017) (Laplante, C.J.) (denying motion to dismiss);

Andrews v. Blick Art Materials, LLC, 268 F. Supp. 3d 381, 404 (E.D.N.Y. 2017)

(Weinstein, J.) (denying motion to dismiss); Gil v. Winn-Dixie Stores, Inc., 257 F.

Supp. 3d 1340, 1349 (S.D. Fla. 2017) (finding that the defendant, a large supermarket

chain, had violated the plaintiff’s rights under the ADA by failing to maintain an

accessible website after a non-jury trial).

         11.   Based on information and belief, it is Defendant’s policy and practice to

deny blind users, including Plaintiff, equal enjoyment of and access to

bollingwilsonhotel.com. Due to Defendant’s failure and refusal to remove access

barriers on bollingwilsonhotel.com, Plaintiff and other blind and visually impaired
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individuals have been denied equal enjoyment of and access to Defendant’s location

and to the other services, advantages, privileges, and accommodations offered to the

public through bollingwilsonhotel.com.

       12.    Defendant denies blind individuals equal enjoyment of and access to

the services, privileges, advantages, and accommodations and information made

available through bollingwilsonhotel.com by preventing them from freely navigating

bollingwilsonhotel.com.      Bollingwilsonhotel.com contains access barriers that

prevent the full and equal enjoyment and use by Plaintiff and other blind persons

using screen reading software.

       13.    Bollingwilsonhotel.com’s barriers are pervasive and include, but are not

limited to, the following:

       (1) Missing alternative text which presents a problem because an image

without alternative text results in an empty link. Alternative Text is invisible code

embedded beneath a graphical image on a website. Web accessibility requires that

Alternative Text be coded with each picture so that a screen reader can speak the

Alternative Text where a sighted user sees pictures. Alternative Text does not change

the visual presentation, but instead a text box will pop-up when the mouse moves

over the picture. The lack of Alternative Text on these graphics prevents screen

readers from accurately vocalizing a description of the graphics. As a result, visually-

impaired Bolling Wilson Hotel customers are unable to determine what is on the

website, browse the site, look for the Bolling Wilson Hotel location, check out

Defendant’s amenities, and/or determine whether to visit the location;
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      (2) Multiple form labels, which means that a form control has more than one

label associated with it. A form control should have at most one associated label

element. If more than one label element is associated to the control, assistive

technology may not read the appropriate label; and

      (3) Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen reader users.

      14.    Due to the inaccessibility of bollingwilsonhotel.com, blind and

otherwise visually impaired customers who use screen readers have been hindered

from effectively browsing for Defendant’s location, amenities and services, privileges,

advantages, and accommodations that exist online unlike sighted users.                  If

bollingwilsonhotel.com were accessible, Plaintiff would independently and privately

investigate Defendant’s services, privileges, advantages, and accommodations and

amenities, and found the location to visit via Defendant’s website as sighted

individuals can and do.

      15.    Despite several attempts to use bollingwilsonhotel.com in recent

months, the numerous access barriers contained on Defendant’s website have denied

Plaintiff’s full and equal access, and deterred Plaintiff on a regular basis from

accessing Defendant’s website. Similarly, based on the numerous access barriers

contained on bollingwilsonhotel.com, Plaintiff has been deterred from visiting

Defendant’s physical location that Plaintiff would have located and visited by using

bollingwilsonhotel.com.


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 COUNT I: Violations of the Americans with Disabilities Act, 42 U.S.C. §

                                     12181 et seq.

       16.    Plaintiff incorporates by this reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

       17.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,

provides: “No individual shall be discriminated against on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §

12182(a).

       18.    Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination also includes, among other things: “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are

necessary to afford such goods, services, facilities, privileges, advantages, or

accommodations to individuals with disabilities, unless the entity can demonstrate

that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations”; and “a failure to take

such steps as may be necessary to ensure that no individual with a disability is

excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services, unless the entity can

demonstrate that taking such steps would fundamentally alter the nature of the good,

service, facility, privilege, advantage, or accommodation being offered or would result
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in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public accommodation

shall take those steps that may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services, unless

the public accommodation can demonstrate that taking those steps would

fundamentally alter the nature of the goods, services, facilities, privileges,

advantages, or accommodations being offered or would result in an undue burden,

i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective,

auxiliary aids and services must be provided in accessible formats, in a timely

manner, and in such a way as to protect the privacy and independence of the

individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii). “The term ‘auxiliary aids

and services’ includes [] screen reader software.” 28 C.F.R. § 36.303(b)(2)

(emphasis added).

       19.    Defendant’s location is a “public accommodation” within the meaning

of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from

the sale of its amenities and services, privileges, advantages, and accommodations in

Virginia through its location and related services, privileges, advantages, and

accommodations and bollingwilsonhotel.com. Bollingwilsonhotel.com is a service,

privilege, advantage, and accommodation provided by Defendant that is inaccessible

to patrons who are visually-impaired like Plaintiff.        This inaccessibility denies

visually-impaired patrons full and equal enjoyment of and access to the facilities and

services, privileges, advantages, and accommodations that Defendant made available
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to the non-disabled public through its website. Defendant violates the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant denies visually-

impaired customers the services, privileges, advantages, and accommodations

provided by bollingwilsonhotel.com and connected to its places of public

accommodation. These violations are ongoing.

       20.    Defendant’s actions constitute discrimination against Plaintiff on the

basis of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. in that: Defendant has constructed a website that is inaccessible to

Plaintiff; maintains the website in this inaccessible form; and has failed to take

adequate actions to correct these barriers even after being notified of the

discrimination that such barriers cause.

       21.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights

set forth and incorporated therein, Plaintiff requests relief as set forth below.


   WHEREFORE, Plaintiff Keith Carroll prays that this Honorable Court grant the

following remedies:

       1.     For a judgment that Defendant violated Plaintiff’s rights under the

Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.

       2.     For preliminary and permanent injunctive relief pursuant to 42 U.S.C. §

12188(a)(1) and (2), requiring Defendant to:




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             a.     ensure that its website, bollingwilsonhotel.com, is easily

      accessible by individuals who are visually-impaired and who use computers,

      including laptops, tablets, and smartphones;

             b.     ensure that individuals who are visually-impaired have an equal

      opportunity to participate in and benefit from the goods, services, facilities,

      privileges, advantages, and accommodations provided through its website;

             c.     adopt and implement website accessibility policies which ensure

      that its website is fully and equally accessible to the visually-impaired;

             d.     require any third party vendors who participate on its website

      ensure that it is fully and equally accessible to the visually-impaired;

             e.     make publicly available, and provide a direct link on the

      homepage of its website, to a statement of Accessibility Policy to ensure that

      the visually-impaired have full and equal enjoyment of its website;

             f.     provide quarterly mandatory website accessibility training to all

      employees who write or develop programs or code for, or who publish final

      content to, its website, as to how to conform all web content and services with

      criteria to ensure that the visually-impaired have full and equal enjoyment of

      its website; and

             g.     conduct quarterly automated accessibility test of its website to

      identify any instances where the website is no longer in conformance with

      criteria that ensures that the visually-impaired have full and equal enjoyment

      of its website;
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      3.   For attorneys’ fees and expenses;

      4.   For costs of suit; and

      5.   A judgment for all such other relief as this Court deems just and proper.


                                Respectfully submitted,

                                /s/ Thomas E. Strelka

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